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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §   CASE NO. 1:13-CR-118(4)
                                                  §
ZHIQIANG LI                                       §

        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                    ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate Judge,

for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal Procedure.

Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

States Magistrate Judge [Clerk’s Doc. #279]. The magistrate judge recommended that the Court accept

the defendant’s guilty plea and conditionally accept the plea agreement. He further recommended that

the Court finally adjudge the defendant as guilty on Count One of the Indictment filed against the

defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that the

Findings of Fact and Recommendation on Guilty Plea [Clerk’s Doc. #279] of the United States

Magistrate Judge are ADOPTED. The Court defers acceptance of the plea agreement until after review

of the presentence report.


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       It is further ORDERED that, in accordance with the defendant’s guilty plea and the magistrate

judge’s findings and recommendation, the defendant, Zhiqiang Li, is hereby adjudged as guilty on Count

One of the Indictment charging violations of 18 U.S.C. § 1962(d).

       SIGNED this the 28 day of July, 2014.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge




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